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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff,                Case No. 95 CR 508-5

           v.                                 Hon. Harry D. Leinenweber

WILLIAM EDWARDS,

                         Defendant.


                       MEMORANDUM OPINION AND ORDER

     Defendant    has    filed      three    motions     that      bear    different

captions but seek the same remedy:                  an Order from the Court

indicating    that     his   participation         in   the    Inmate      Financial

Responsibility Program (the “IFRP”) is voluntary.                    See, ECF Nos.

1049, 1062, 1063.       For the reasons stated herein, the Court has

jurisdiction to hear these motions and grants them to the extent

discussed herein.       The Court’s previous orders are modified to

reflect    that   Edwards     is     encouraged         but    not   required     to

participate in the IFRP.

                              I.     BACKGROUND

     For his role in the street gang known as the Gangster

Disciples, Defendant William Edwards is serving a life sentence

that was     imposed    by   this    Court    on    June      1,   2000.     At   his

sentencing hearing, in addition to sentencing Edwards to his term

of imprisonment, the Court imposed a fine of $10,000 and ordered
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Edwards “to pay that fine over the term of imprisonment by

participating in the Inmate Financial Responsibility Program.”

The conviction and sentence were affirmed on direct appeal.

United States v. Hoover, 246 F.3d 1054, 1062 (7th Cir. 2001).

Since his case ended, Edwards has filed a number of other motions

and petitions, none of which are relevant here.                   Currently,

Edwards is in federal custody at the correctional institution

located in Pekin, Illinois.

     The Bureau of Prisons (“BOP”) is charged with assisting

inmates in developing plans to meet their financial obligations.

28 C.F.R. § 545.10.       The BOP accomplishes this task, in part,

through   the   IFRP.      Participation     in   the   IFRP    is   strictly

voluntary, and while an inmate in BOP custody may lose certain

privileges by not participating, “the inmate’s participation

cannot be compelled.”       United States v. Boyd, 608 F.3d 331, 334

(7th Cir. 2010).        In the Motions before the Court, Edwards

protests that the BOP is following this Court’s sentencing

instructions from 2000 and “has been arbitrarily compelling [him]

to participate in the IFRP . . . by interpreting the district

court’s order as being mandatory.”

     In light of recent precedent, that contention is troubling.

When expounding the rule from Boyd, the Seventh Circuit has

explained that any order requiring an inmate to participate in

the IFRP is not enforceable.            United States v. Bedoya, 393

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F.App’x 396, 398 (7th Cir. 2010) (“District courts do not have

the power to order participation [in the IFRP], and a written

judgment including such an order is unenforceable.”).                   It is

unclear why further relief should be required, but if Edwards’

participation is still being compelled, then some court action

may be necessary.

                            II.   JURISDICTION

     The trouble for Edwards at this stage, as the Government’s

response makes clear, is that “once a criminal case ends in a

sentence[,] the judge’s power lapses.”              United States v. Scott,

414 F.3d 815, 816 (7th Cir. 2005). “A post-judgment motion needs

a source of authority for the judge to act.”              Id.    Rule 52(b),

proffered   by    Edwards   as    a   basis   for    jurisdiction,    is   not

applicable because that rule is to be used on direct appeal only.

United States v. Frady, 456 U.S. 152, 164 (1982).               But no matter

– it is a motion’s substance, not its caption, that determines

its viability.     United States v. Carraway, 478 F.3d 845, 848 n.2

(7th Cir. 2007).

     One source of authority for this Court could be Federal Rule

of Criminal Procedure 35, which allows the sentencing judge to

correct certain types of errors within fourteen days after

sentencing.      But Edwards was sentenced years ago, so Rule 35 is

not available.      Carlisle v. United States, 517 U.S. 416 (1996)

(courts lack the authority to extend the fourteen day window).

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Similarly, Rule 36 empowers the Court to correct clerical errors

and contains no time limit but is no help because Edwards is

seeking substantive relief.

     Another source of authority for the sentencing judge is 28

U.S.C. § 2255, which authorizes a prisoner in federal custody to

argue before the judge who sentenced him that he is entitled to

be released.       But Edwards is challenging not the fact of his

imprisonment but an ancillary order regarding collection of a

fine.     Barnickel v. United States, 113 F.3d 704, 706 (7th Cir.

1997)   (holding     that      challenge    to   restitution        component    of

sentence is not cognizable on collateral review under § 2255

because    an     order   to    pay   restitution         does    not   constitute

“custody”); Bedoya, 393 F.App’x at 398 (explaining that “the IFRP

is a collection tool, not a type of ‘sentence’”).                          So, the

motions cannot be treated as petitions under § 2255.                       For this

reason,    however,       Edwards’    Motions       are    not    barred    by   the

requirement that second or successive petitions first meet the

approval of the court of appeals.             Guyton v. United States, 453

F.3d 425, 427 (7th Cir. 2006) (noting that claims that do not

arise under § 2255 are not subject to the bar on second or

successive petitions).

     The other federal habeas statute, 28 U.S.C. § 2241, is

available    to    federal      prisoners     who    wish    to    challenge     the

execution but not the validity of their sentence.                       Valona v.

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United States, 138 F.3d 693, 694 (7th Cir. 1998).               Courts agree

that complaints about the BOP’s administration of the IFRP are

cognizable under § 2241 because the IFRP “is a means of executing

an inmate’s sentence.” Ihmoud v. Jett, 272 F.App’x 525, 526 (7th

Cir. 2008); Moore v. Hollingsworth, No. 11-CV-049, 2011 WL

4374561, at *2 (S.D. Ill. Sept. 19, 2011), affirmed, 492 F.App’x

648 (7th Cir. 2012).          But § 2241 does not give this Court

jurisdiction over the present motions because this is the wrong

district (Pekin is located in the Central District of Illinois)

and the Government is the wrong respondent. Rumsfeld v. Padilla,

542 U.S. 426, 443 (2004) (“Whenever a § 2241 habeas petitioner

seeks to challenge his present physical custody within the United

States, he should name his warden as respondent and file the

petition in the district of confinement.”).

     Despite    the    inapplicability      of   the    usual    sources      of

jurisdiction, the Court is convinced that it may hear Edwards’

motions.     Sentencing     courts    are   empowered     by    18   U.S.C.   §

3572(d)(3) to adjust a fine where the defendant later complains

of financial hardship.       This section provides as follows:

           A judgment for a fine which permits payments
           in installments shall include a requirement
           that the defendant will notify the court of
           any material change in the defendant's
           economic circumstances that might affect the
           defendant's ability to pay the fine. Upon
           receipt of such notice the court may, on its
           own motion or the motion of any party,
           adjust the payment schedule, or require

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           immediate payment in full, as the interests
           of justice require.

18 U.S.C. § 3572(d)(3).        The Seventh Circuit has held that this

provision can confer on the sentencing court subject-matter

jurisdiction     to     entertain     a   post-judgment    motion     seeking

“clarification of the sentencing order” regarding payment of a

criminal fine.        United States v. Goode, 342 F.3d 741, 743 (7th

Cir. 2003). Edwards meets the statute’s most obvious requirement

– hardship – because he has asserted repeatedly that he is having

trouble paying the fine. But the jurisdictional question is more

nuanced,   and   the    Seventh     Circuit   has   identified    two   other

conditions that must be satisfied before the district court may

base its jurisdiction on § 3572(d)(3):           first, the judgment must

permit payment in installments, and second, the Court must not

have delegated to another entity the discretion to collect the

fine.   See, United States v. Dawson, 547 F.App’x 783, 785 (7th

Cir. 2013).

     The first requirement is satisfied easily.                   The Court

ordered Edwards to pay his fine “over the term of imprisonment.”

With this language, the Court provided that the fine would be

paid in installments “over the period provided by the court.” 18

U.S.C. § 3572(d)(1).

     The second requirement is trickier, as the Court ordered

Edwards to     pay    the   fine    “by   participating in    the [IFRP].”


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Ostensibly    at    least,   the    Court    delegated   to   the   IFRP   the

authority to collect the fine.              However, when a court orders

payment in installments, the Court lacks the power “to delegate

to the administrative staff the specification of a payment

schedule.”    United States v. Yahne, 64 F.3d 1091, 1097 (7th Cir.

1995) (vacating the district court’s order delegating to the

probation office the establishment of a payment schedule for the

defendant’s fine). Similarly here, the Court allowed for payment

in   installments      and   thus     could    not   delegate       away   the

specification of a payment schedule. And as explained above, the

Court could not have required Edwards’ participation in the IFRP

even if the Court could delegate its authority.               Boyd, 608 F.3d

at 334.    Thus, any avowed delegation to the BOP was ineffective

and the Court retains jurisdiction under § 3572(d)(3) to consider

Defendant’s Motions.

     The Court sees fit to point out that courts do have the

authority to delegate collection of a fine where payment is

ordered due immediately and the defendant is unable to pay

immediately.       See, In re Buddhi, 658 F.3d 740, 741-42 (7th Cir.

2011).    In Dawson, a case similar to this one but where the Court

lacked jurisdiction, the district court had ordered the defendant

to pay his fine immediately and “delegated to the IFRP its

discretion to collect his fine.”             Dawson, 547 F.App’x at 785.

That delegation was effective because when a fine due immediately

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is not paid immediately, responsibility for collection lies with

the Attorney General, not the Court, and the Attorney General may

delegate his authority to the BOP.              Id.; see also, In re Buddhi,

658   F.3d    at    742.     The       district   court   in    Dawson    lacked

jurisdiction under § 3572(d)(3) to hear the defendant’s motion

because    the     court   had    delegated     its   authority    to    the    BOP

previously and that delegation was effective.                      Dawson, 547

F.App’x at 785.        Dawson does not apply to this case because

Edwards’ fine was payable in installments, not immediately.

                                 III.    THE IFRP

      Now assured of its jurisdiction, the Court has no difficulty

recognizing      the   discord     between      the   Court’s   June     1,    2000

instruction and more recent Seventh Circuit precedent, including

Boyd.     While Edwards’ sentence will stand, any parts of this

Court’s previous orders that indicated that Edwards would be

required to participate in the IFRP are hereby modified to

reflect that Edwards is encouraged but not required to enroll in

the IFRP so that he may meet his financial obligations.                       While

Edwards may lose certain benefits should he choose to abstain,

his participation shall be of his own volition or not at all.

                                 IV.    CONCLUSION

      Accordingly, for the reasons stated herein, Defendant’s

Motions [ECF Nos. 1049, 1062, 1063] are granted.                  Edwards’ most



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recent Motion [ECF No. 1076], which is entitled “motion to

rebuttal the government’s response motion” but is essentially a

motion for leave to file a reply brief, is granted.


IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

Date:6/4/2014




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